                                 United States Bankruptcy Court
                                  Eastern District of Michigan


In re: Diana Gentry                                                         Case No.:
                                                                           09-36472
            Debtor                                                          Chapter 7

____________________________________________________________________________

Toni Banfield                                                               AP No.: 15-03038
            Plaintiff

v

Diana Gentry, et al
            Defendants

____________________________________________________________________________



                        ORDER ENTERING RELIEF AS STATED IN THE OPINION OF THE
                            COURT DATED NOVEMBER 30, 2015



WHEREAS, Several Motions by all parties having been filed, and for the reasons and scope of
this Order being set forth in the Opinion found at Doc. No.: 93 in this case, hearings having been
held and all Parties having had an opportunity to be heard, and capitalized terms not defined in
this order having the meaning as defined in the Opinion


NOW THEREFORE IT IS ORDERED that this matter is remanded back to the Livingston
County Probate Court.


IT IS FURTHER ORDERED that the Automatic Stay is lifted, allowing the Livingston County
Probate Court to decide issues regarding the Trusts and Trust Assets as the appropriate forum in
this case.


IT IS FURTHER ORDERED that Diana Gentry’s Motion for Sanctions, Costs and Attorney
Fees against Michael Tindall is the only matter retained by the Bankruptcy Court in this case.

IT IS FURTHER ORDERED that this Order is a Final Order



    15-03038-dof      Doc 142   Filed 01/22/16    Entered 01/22/16 15:02:19        Page 1 of 2
GENTRY AP TONI v diana and nancy REMAND ORDER
                                                          .



Signed on January 22, 2016
                                                                 /s/ Daniel S. Opperman
                                                               Daniel S. Opperman
                                                               United States Bankruptcy Judge




  15-03038-dof           Doc 142         Filed 01/22/16       Entered 01/22/16 15:02:19   Page 2 of 2
